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              19                              UNITED STATES DISTRICT COURT

              20            NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION

              21 U.S. WECHAT USERS ALLIANCE,                   Case No. 3:20-cv-05910-LB
                 CHIHUO INC., BRENT COULTER,
              22 FANGYI DUAN, JINNENG BAO, ELAINE              DECLARATION OF MICHAEL W. BIEN
                 PENG, and XIAO ZHANG,                         IN SUPPORT OF ADMINISTRATIVE
              23                                               MOTION FOR LEAVE TO FILE UNDER
                             Plaintiffs,                       SEAL
              24         v.
                                                               Judge:   Hon. Laurel Beeler.
                 DONALD J. TRUMP, in his official capacity
              25 as President of the United States, and
                                                               Trial Date:      None Set
                 WILBUR ROSS, in his official capacity as
              26 Secretary of Commerce,
              27                Defendants.

              28
                                                                                   Case No. 3:20-cv-05910-LB
                   DECLARATION OF MICHAEL W. BIEN IN SUPPORT OF ADMINISTRATIVE MOTION FOR LEAVE TO FILE
[3624841.4]                                             UNDER SEAL
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               1         1.     I am an attorney duly admitted to practice before this Court. I am a partner
               2 in the law firm of Rosen Bien Galvan & Grunfeld LLP, counsel of record for Plaintiffs. I
               3 have personal knowledge of the facts set forth herein, and if called as a witness, I could
               4 competently so testify. I make this declaration in support of Plaintiffs’ Administrative
               5 Motion for Leave to File Under Seal.
               6         2.     On September 24, 2020, Defendants in this action filed a Declaration of John
               7 Costello in support of their Motion to Stay Pending Appeal. See ECF No. 68-1. Exhibit A
               8 to the Costello Declaration consists of a partially redacted memorandum from Mr. Costello
               9 titled “Proposed Prohibited Transactions Related to WeChat Pursuant to Executive Order
              10 13943” (hereafter “Decision Memo”). Page 14 of the Decision Memo refers to a “proposal
              11 to mitigate the concerns identified in EO 13943” submitted by Tencent to the Department
              12 of Commerce, and describes the proposed mitigation measures at a high level of
              13 generality. Footnote 85 of the Decision Memo indicates that a copy of Tencent’s
              14 Mitigation Proposal was attached to the Decision Memo as “Appendix I.” Defendants did
              15 not file Appendix I or any other appendices from the Decision Memo on September 24,
              16 2020.
              17         3.     On Sunday, September 27, 2020, Plaintiffs’ counsel emailed counsel for
              18 Defendants to request “complete copies of the non-classified information in the new
              19 evidence that Defendants submitted in connection with their stay motion,” including the
              20 information contained in the appendices to the Decision Memo.
              21         4.     On September 28, 2020 Defendants’ counsel informed Plaintiffs’ counsel
              22 that they were “not ready to provide [any of the appendices containing unclassified
              23 information] at this time,” and suggested that the parties “work out a protective order and
              24 then talk about a schedule for production of an administrative record[.]” Plaintiffs’
              25 counsel requested that they be allowed to receive an “attorneys eyes only” copy of
              26 Appendices F and I before the October 1, 2020 filing deadline for their Opposition brief.
              27 Defendants’ counsel responded that they would provide Appendix F as requested but that
              28 Plaintiffs’ counsel would need to obtain consent from Tencent before Defendants would
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               1 produce Appendix I.
               2         5.     On September 28, 2020, Defendants filed a Notice of Corrected Exhibit in
               3 Support of Motion to Stay, see ECF No. 76-1, explaining that certain public information
               4 had been inadvertently redacted from the version of the Decision Memo Defendants filed
               5 on September 24, 2020. Like the version filed on September 24, 2020, the corrected
               6 version of the Decision Memo does not include Appendix I.
               7         6.     On the evening of September 29, 2020, Plaintiffs’ counsel contacted counsel
               8 for Tencent to ask whether Tencent would be willing to share the Mitigation Proposal
               9 referenced in the Costello memorandum. The next afternoon, on September 30, 2020,
              10 counsel for Tencent informed Plaintiffs’ counsel that the Mitigation Proposal “should not
              11 be publicly disclosed, both because it constitutes highly business sensitive/trade secret
              12 information, including potential business plans and potential business partners, and out of
              13 respect for the Commerce/Tencent discussions.” As a result, counsel for Tencent stated
              14 that it would assent “to DOJ to provide the Proposal to plaintiffs now, subject to the
              15 agreement by all plaintiffs’ counsel … that it will be subject to Attorneys-Eyes-Only
              16 treatment and subject to the highest protections available under the forthcoming protective
              17 order, and used solely in connection with the Us WeChat Users Alliance v. Trump action.”
              18 Plaintiffs’ counsel agreed to these conditions, and counsel for Defendants subsequently
              19 provided Plaintiffs’ counsel with a copy of Appendix I at approximately 6:45 p.m. PST on
              20 September 30, 2020.
              21         7.     On Thursday, October 1, 2020, Plaintiffs filed their Opposition to
              22 Defendants’ Motion to Stay. See ECF No. 78. The same day, Defendants filed a copy of
              23 Appendix F on the Court’s docket. See ECF No. 77. Defendants did not provide the Court
              24 with a copy of Appendix I. Id.
              25         8.     On Friday, October 2, 2020, Plaintiffs’ counsel emailed a proposed
              26 protective order to counsel for Defendants, along with a redlined version of the proposed
              27 order comparing it to the Northern District of California template. Plaintiffs’ counsel
              28 requested that Defendants either approve the proposed order or propose revisions by 10
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               1 a.m. PST on Monday, October 5, 2020. Counsel for Defendants responded that they
               2 would “look at this after our filing on Tuesday, most likely Wednesday.”
               3         9.     Later on Friday, October 2, 2020, Plaintiffs’ counsel wrote to counsel for
               4 Defendants to ask whether Defendants would stipulate to Plaintiffs filing Appendix I under
               5 seal on Monday, October 5, 2020 before entry of a stipulated protective order, with an
               6 explanation in the motion that Appendix I would be “subject to Attorneys-Eyes-Only
               7 treatment and the highest protections available under the forthcoming protective order, and
               8 used solely in connection with the US WeChat Users Alliance v. Trump action.”
               9 Defendants’ counsel responded that they would need time to work through the
              10 “institutional ramifications” of stipulating to file Appendix I under seal. Defendants
              11 proposed that the parties “pick this discussion back up on Wednesday,” after Defendants
              12 filed their Reply brief in support of their Motion to Stay, because “there are nine days
              13 between the time we file our reply brief [on Tuesday, October 6, 2020] and the hearing set
              14 by Judge Beeler,” which would “give[] us plenty of time to work together to get the
              15 mitigation proposal, which is only 7 pages, in front of Judge Beeler before the hearing.”
              16         10.    On October 7, 2020, Defendants’ counsel emailed Plaintiffs’ counsel stating
              17 the Government’s position “as not opposing your motion to seal, for purposes of this
              18 motion only.” Subsequent to Defendants’ counsel’s recommendation that the parties alert
              19 Tencent’s counsel to this Administrative Motion, Plaintiffs’ counsel provided a draft to
              20 Tencent’s counsel (copying Defendants’ counsel), and asked for Tencent’s position on the
              21 Administrative Motion. On October 8, 2020, Tencent’s counsel indicated that “Tencent
              22 supports the sealing of this document.”
              23         I declare under penalty of perjury under the laws of the United States of America
              24 that the foregoing is true and correct, and that this declaration is executed at San Francisco,
              25 California this 8th day of October, 2020.
              26
              27                                                 /s/ Michael W. Bien
                                                                 Michael W. Bien
              28
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